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 1   Kenneth A. Wexler (pro hac vice)
 2   Michelle Lukic (pro hac vice)
     WEXLER WALLACE LLP
 3   55 West Monroe St., Suite 3300
     Chicago, IL 60603
 4
     Telephone: (312) 346-2222
 5   Facsimile: (312) 346-0022
     E-mail: kaw@wexlerwallace.com
 6           mpl@wexlerwallace.com
 7
     Attorneys for Plaintiff
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 9
                                     UNITED STATES DISTRICT COURT
10                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION

12    DANIEL ZEIGER, Individually and on           ) Case No. 3:17-cv-04056-WHO
      Behalf of All Others Similarly Situated,     )
13                                                 )
14                                    Plaintiff,   ) NOTICE OFW ITH DRAW AL OF
                                                   ) ATTORNEY M ICH ELLE LUKIC
15           v.                                    )
                                                   )
16    WELLPET LLC, a Delaware corporation,         )
17                                                 )
                                                   )
18                                    Defendant.   )
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                               NOTICE OF WITHDRAWAL OF ATTORNEY MICHELLE LUKIC
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     TO: The Clerk of the Court and All Parties and Counsel of Record:
 1
 2          PLEASE TAKE NOTICE TH ATMichelle Lukic hereby withdraws her appearance as Counsel.

 3   Plaintiffs will continue to be represented by Counsel of record from Wexler Wallace LLP, as well as by
 4
     additional counsel for Plaintiffs, and all future correspondence and papers in this action should continue
 5
     to be directed as such.
 6
 7
        Dated: August 5, 2021                         WEXLER WALLACE LLP
 8                                                    KENNETH A. WEXLER (pro hac vice)
                                                      MICHELLE LUKIC (pro hac vice)
 9
10                                                    /s/ Michelle Lukic
                                                      MICHELLE LUKIC (pro hac vice)
11                                                    55 West Monroe St., Suite 3300
                                                      Chicago, IL 60603
12                                                    Telephone: (312) 346-2222
13                                                    Facsimile: (312) 346-0022
                                                      E-mail: kaw@wexlerwallace.com
14                                                            mpl@wexlerwallace.com
15                                                    Attorneys for Plaintiff
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                               NOTICE OF WITHDRAWAL OF ATTORNEY MICHELLE LUKIC
